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                                                                  CWIL COVER SHEET
.IS-44 (Rev. 6/17 DC1
  I. (a) PLAINTIFFS                                                                      DEFENDANTS
 United States of America                                                               Stephanie Winston Wolkoff



  (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                                         COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT 88888
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                N0TE IN 1 ANi) 1)NI)FMNVFION CASFT USE FilE i.CXAFION OF FIlE TRACT 01 I ANI) 1NVOTYFI)

  (c) ATTORNEYS (FIRM NAME. ADDRESS. AND TELEPHONE NUMBER)                               ATTORNEYS (IF KNOWN)

 Jeffrey A. Hall                                                                        Lorin L. Reisner
 Civil Division, U.S. Department of Justice                                             Paul, Weiss, Rifkind, Wharton & Garrison LLP
 950 Pennsylvania Ave. NW                                                               1285 Avenue of the Americas
 Washington, D.C. 20530                                                                 New York, New York 10019
  II. BASIS OF JURISDICTION                                                 III. CITIZENShIP OF PRINCIPAL PARTIES (PLACE AN x                                  IN ONE BOX FOR
      (PLACE AN xIN ONE BOX ONLY)                                           PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                                          PTF          DFT                                                 PTF            DFT
  ®     I U.S. Governmenl
          Plaintiff
                                    3 Federal Question
                                        (U.S. Governmenl Not a Party)       Cilizen of this Slate         0     1     0      1   Incorporated or Principal Place           0              04
                                                                                                                                 of Business in This Slate

  Q     2 U.S. Government
          Defendanl
                              Q     4 Diversity
                                      (Indicale Cilizenship of
                                                                            Citizen of Another SIaIe      02          02         Incorporated and Principal Place          0     5        0
                                                                                                                                 of Business in Anolher Stale
                                      Parties in item )                     Citizen or Subject ofa
                                                                            Foreign Country
                                                                                                          Q3           0         Foreign Nation                            06 06
                                            IV. CASE ASSIGNMENT AND NATURE OF SUIT
              (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

  0     A. Antitrust        0      B.    Personal Injurj’/                       0      C. Administrative Agency                             0      D.    Temporary Restraining
                                         Malpractice                                         Review                                                       Order/Preliminary
        410 Antitrust              310 Airplane                                         151 Medicare Act
                                                                                                                                                           j
                                   315 Airplane Product Liability                                                                             Any nature of suit from any category
                                   320 Assault, Libel & Slander                   Social Security
                                                                                                                                              may be selected for this category of
                                                                                       861 lIlA (1395f0
                                   330 Federal Employers Liability                                                                            case assignment.
                                                                                       862 Black Lung (923)
                                   340 Marine
                             tEl   345 Marine Product Liability                   tE 863 DIWC/DIWW (405(g))                                   *(If Antitrust, then A governs)*
                                                                                       864 SSID Title XVI
                                   350 Motor Vehicle
                                                                                       865 RSI (405(g))
                                   355 Motor Vehicle Product Liability
                                                                                  Other Statutes
                             tE    360 Other Personal Injury
                                                                                       891 Agricultural Acts
                             tE    362 ‘sledical Malpractice
                                                                                       893 Environmental Matters
                             tE    365 Product Liability
                                                                                       890 Other Statutory Actions (If
                             LII   367 Health Care/Pharmaceutical
                                                                                           Administrative Agency is
                                       Personal Injury Product Liability
                                                                                           Involved)
                                   368 Asbestos Product Liability


  0 E.        General Civil (Othe,)                               OR                   0 F.         Pro Se General Civil
  Real Property                              Bankruptcy                                       Federal Tax Suits                                      462 Naturalization
  tE210 Land Condemnation                         422 Appeal 27 USC 158                              870 Taxes (US plaintiff or                          Application
        220 Foreclosure                           423 Withdrawal 28 USC 157                              defendant)                                  465 Other Immigration
        230 Rent, Lease & Ejectment                                                                  871 IRS-Third Party 26 USC                            Actions
   240 Torts to Land                         Prisoner Petitions                                          7609                                        470 Racketeer Influenced
     245 Tort Product Liability              LI 535 Death Penalt                                                                                         & Corrupt Organization
     290 All Other Real Property             LI 540 Mandamus & Other                          Forfeiture/Penalty
                                                                                                                                               LI 480 Consumer Credit
                                             LI 550 Civil Rights                                   625 Drug Related Seizure of
                                                                                                         Property 21 USC 881
                                                                                                                                                     490 Cable/Satellite TV
  Personal Property                          LI 555 Prison Conditions                                                                                850 Securities/Commodities!
   LI 370 Other Fraud                        LI 560 Civil Detainee Conditions
                                                                        —                     LI 690 Other                                                 Exchange
   LI371 Truth in Lending                             of Confinement
   LI380 Other Personal Property
                                                                                              Other Statutes                                   LI 896 Arbitration
         Damage                              Property Rights                                  LI 375 False Claims Act                          LI 899 Administrative Procedure
                                                                                              LI 376 Qui Tam (31 USC                                      Act/Review or Appeal of
   fl385 Property Damage                     LI 820 Copyrights                                                                                            Agency Decision
                                                                                                         3729(a))
         Product Liability                   LI 830 Patent
                                             LI 835 Patent Abbreviated New
                                                             —
                                                                                               LI 400 State         Reapportionment                   950 Constitutionality of State
                                                                                                     430 Banks & Banking                                  Statutes
                                                      Drug Application
                                                                                                     450 Commerce/ICC                                 890 Other Statutory Actions
                                             LI 840 Trademark                                                                                             (if not adniinistratiye agency
                                                                                                         Rates/etc.
                                                                                               LI    460 Deportation                                      review or Privacy Act)
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 0     C. Habeas Corpus/                       0        H. Emploi’ment                               0     I.      FOIA/Privacv Act                   0     J. Student Lou,,
              2255                                      Discrimination

       530 Habeas Corpus General—
                                                        442 Civil Rights Employment
                                                                           —
                                                                                                           895 Freedom of Information Act                   152 Recovery of Defaulted
       510 Motion/Vacate Sentence                           (criteria: race, gender/sex,                   890 Other Statutory Actions                          Student Loan
       463 Habeas Corpus Alien  —
                                                            national origin,                                   (if Privacy Act)                                 (excluding veterans)
           Detainee                                         discrimination, disability, age,
                                                            religion, retaliation)

                                               *(lf pro Se, select this deck)*                        “(If pro Se, select this deck)”

 0     K. Labor/ERISA                           0       L. Other Civil Rights                        0     M. Contract                                0     N. Three-Judge
                  (non-employment)                             (non-enzploymeiit,                                                                           Court
                                                                                                            110    Insurance
       710 Fair Labor Standards Act                441 Voting (if not Voting Rights                         120    Marine                                   441 Civil Rights— Voting
       720 Labor/Mgmt. Relations                       Act)                                                 130    Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                       443 Housing/Accommodations                               140    Negotiable Instrument
       751 Family and Medical                    440 Other Civil Rights                                     150    Recovery of Overpayment
           Leave Act                               445 Americans ssiDisabilities          —                        & Enforcement of
       790 Other Labor Litigation                      Employment                                                  Judgment
       791 EmpI. Ret. Inc. Security Act            446 Americans sv/Disabilities          —
                                                                                                            153    Recovery of Overpayment
                                                       Other                                                       of Veteran’s Benefits
                                                 448 Education                                              160    Stockholder’s Suits
                                                                                                            190    Other Contracts
                                                                                                      fl    195    Contract Product Liability
                                                                                                            196    Franchise


 V. ORIGIN

 ®   I Original        0   2 Removed      0   3 Remanded            0   4 Reiiistated    0    5 Transferred              6 Multi-district        7 Appeal to            8 Multi-district
     Proceeding              from State       from Appellate            or Reopened           from another               Litigation              District Judge         Litigation —




                             Court            Court                                           district (specify)                                 from Mag.              Direct File
                                                                                                                                                 Judge

 VI. CAUSE OF ACTION (CITE TIlE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
  28 U.S.C. 1345           -   United States as Plaintiff

 VII. REQUESTED IN                            CHECK IF THIS IS A CLASS                  DEMAND S                                            Check YES only if demanded in complaint
                                              ACTION UNDER F.R.C.P. 23                                                                      YES              NO
      COMPLAINT                                                                             JURY DEMAND:


 VIII. RELATED CASE(S)                        (See   mSiniciiOfl)                                                                           If yes, please complete related case form
                                                                                        YES                        NO
       IF ANY

 DATE:                10/13/2020                     SIGNATURE OF ATTORNEY OF RECORD


                                               INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                             Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet These tips coincide with the Roman Numerals on the cover sheet.

             I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                        of Washington, DC, 88888 ifplaintiiT is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

             III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed qj)y if diversity of citizenship was selected as the Basis of Jurisdiction
                        under Section II

             IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                        represents the primary cause of action found in your complaint. You rosy select only one category. You must also select pg corresponding
                        nature of suit found under the category of the case.

             VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

             VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related ease, you must complete a related case form, which may be obtained from
                        the Clerk’s Office.

             Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
